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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

VENUS FASHION, INC.,

             Plaintiff,

v.                                               CASE NO. 3:16-cv-907-J-39MCR

CONTEXTLOGIC INC., and
WISH, INC.,

          Defendants.
_________________________________/

                                      ORDER

      THIS CAUSE is before the Court on Plaintiff’s Motion to Appear Pro Hac

Vice (the “Motion”) (Doc. 3), seeking an order authorizing Aaron Charfoos to

appear in this action pro hac vice on behalf of Plaintiff. However, the Motion does

not state whether the attorney “is a member in good standing of the bar of any

District Court of the United States,” as required by Local Rule 2.02(a).

      Accordingly, it is ORDERED:

      The Motion (Doc. 3) is DENIED without prejudice.

      DONE AND ORDERED at Jacksonville, Florida, on July 15, 2016.




Copies to:

Counsel of Record
